         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                  _____________________________

                      Case No. 5D2024-2121
                   LT Case No. 2022-CF-1226-A
                          CORRECTED
                  _____________________________

TIMOTHY FLOYD,

    Petitioner,

    v.

STATE OF FLORIDA,

    Respondent.
                  _____________________________


Petition for Belated Appeal.
A Case of Original Jurisdiction.

Charlie Cofer, Public Defender, and Charles Simpson, Assistant
Public Defender, Viera, for Petitioner.

No Appearance for Respondent.

                         August 23, 2024

PER CURIAM.

      The petition for belated appeal is granted. A copy of this
opinion shall be filed with the trial court and be treated as the
notice of appeal from the May 30, 2024 judgment and sentence
rendered in Case No. 2022-CF-1226-A, in the Circuit Court in and
for Clay County, Florida. See Fla. R. App. P. 9.141(c)(6)(D).

      PETITION GRANTED.
WALLIS, LAMBERT, and JAY, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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